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                              UNITED STATES DISTRICT COURT FOR
                                  THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                              )
                                                       )
                                Plaintiff,             )      8:08CR281
                                                       )
                        vs.                            )      FINAL ORDER OF
                                                       )      FORFEITURE
                                                       )
JOSE ROBLEDO,                                          )
                                                       )
                                Defendant.             )


        NOW ON THIS 26th day of June, 2010, this matter comes on before the Court upon the

United States’ Motion for Final Order of Forfeiture. The Court reviews the record in this case and,

being duly advised in the premises, find as follows:

        1. On June 12, 2009, the Court entered a Preliminary Order of Forfeiture pursuant to the

provisions of Title 21, United States Code, Sections 846 and 853 based upon the Defendant's plea

of guilty to Counts I and II of the Superseding Indictment filed herein. By way of said Preliminary

Order of Forfeiture, the Defendant’s interest in $17,950.00 in United States currency was forfeited

to the United States.

        2. Notice of Criminal Forfeiture was posted on an official internet government forfeiture

site www.forfeiture.gov for at least thirty consecutive days, beginning on March 20, 2010, as

required by Rule G(4)(a)(iii)(B) of the Supplemental Rules for Admiralty or Maritime Claims and

Asset Forfeiture Actions. A Declaration of Publication was filed herein on May 24, 2010 (Filing No.

150).

        3. The Court has been advised by the United States no Petitions have been filed. From a

review of the Court file, the Court finds no Petitions have been filed.
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       4. The Plaintiff’s Motion for Final Order of Forfeiture should be sustained.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

       A. The Plaintiff’s Motion for Final Order of Forfeiture is hereby sustained.

       B. All right, title and interest in and to the $17,905.00 in United States currency held by any

person or entity, is hereby forever barred and foreclosed.

       C. The $17,950.00 in United States currency be, and the same hereby are, forfeited to the

United States of America .

       D. The United States Marshal for the District of Nebraska is directed to dispose of said

property in accordance with law.

       DATED this 26th day of June, 2010.

                                              BY THE COURT:



                                              s/ Joseph F. Bataillon
                                              JOSEPH F. BATAILLON, CHIEF JUDGE
                                              United States District Court
